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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                 CRIMINAL 11-0406CCC
 1) RUDY APOLINAR MEJIAS-SANTANA
 2) GUILLERMO JIMENEZ-JIMENEZ
 Defendants



                                            ORDER


       Having considered the Report and Recommendation filed on March 30, 2012 (docket

entry 43) on a Rule 11 proceeding of defendant Rudy Apolinar Mejías-Santana (1) held

before U.S. Magistrate Judge Marcos E. López on March 22, 2012, to which no opposition

has been filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is

accepted. The Court FINDS that his plea was voluntary and intelligently entered with

awareness of his rights and the consequences of pleading guilty and contains all elements

of the offense charged in the indictment.

       This case was referred to the U.S. Probation Office for preparation of a Presentence

Investigation Report since March 22, 2012. The sentencing hearing is set for June 20,

2012 at 4:15 PM.

       SO ORDERED.

       At San Juan, Puerto Rico, on April 27, 2012.



                                            S/CARMEN CONSUELO CEREZO
                                            United States District Judge
